 Fill in this information to identify the case:

 Debtor name         Bayport Corporation Ltd.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         20-80471
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 18, 2020                       X /s/ Rex Rankin
                                                                       Signature of individual signing on behalf of debtor

                                                                       Rex Rankin
                                                                       Printed name

                                                                       Owner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy




        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                            Desc Main
                                                              Document    Page 1 of 26
 Fill in this information to identify the case:

 Debtor name            Bayport Corporation Ltd.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ALABAMA

 Case number (if known)               20-80471
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $         1,670,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                     0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $         1,670,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $         1,401,117.75


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $               3,375.60

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$             15,000.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,419,493.35




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy


         Case 20-80471-CRJ11                                        Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                                                         Desc Main
                                                                          Document    Page 2 of 26
 Fill in this information to identify the case:

 Debtor name         Bayport Corporation Ltd.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         20-80471
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                    Desc Main
                                                              Document    Page 3 of 26
 Debtor         Bayport Corporation Ltd.                                                      Case number (If known) 20-80471
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 3.5 acres of land off
                     of Oakwood Avenue
                     in the Providence
                     area, Huntsville, AL                                                   $0.00      Appraisal                          $520,000.00


            55.2.    6.5 acres of land off
                     of Oakwood Avenue
                     in the Providence
                     area, Huntsville, AL                                                   $0.00      Appraisal                        $1,150,000.00




 56.        Total of Part 9.                                                                                                          $1,670,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                           Desc Main
                                                              Document    Page 4 of 26
 Debtor         Bayport Corporation Ltd.                                                     Case number (If known) 20-80471
                Name


        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            G. Wayne White                                                                                                                 Unknown
            Nature of claim                    Malpractice
            Amount requested                                         $1,000,000.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                 $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                         Desc Main
                                                              Document    Page 5 of 26
 Debtor          Bayport Corporation Ltd.                                                                            Case number (If known) 20-80471
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,670,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.            $1,670,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,670,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy


         Case 20-80471-CRJ11                                Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                                  Desc Main
                                                                  Document    Page 6 of 26
 Fill in this information to identify the case:

 Debtor name         Bayport Corporation Ltd.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)             20-80471
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Bryant Bank of Huntsville                      Describe debtor's property that is subject to a lien               $1,300,000.00             $1,150,000.00
       Creditor's Name                                6.5 acres of land off of Oakwood Avenue in
       320 Pelham Avenue SW                           the Providence area, Huntsville, AL
       Suite 100
       Huntsville, AL 35801
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




       First Community Bank of
 2.2                                                                                                                       $101,117.75                       $0.00
       Cullman                                        Describe debtor's property that is subject to a lien
       Creditor's Name

       420 2nd Avenue SW
       Cullman, AL 35055
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       07/25/2019                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                         Desc Main
                                                              Document    Page 7 of 26
 Debtor       Bayport Corporation Ltd.                                                          Case number (if known)         20-80471
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




                                                                                                                         $1,401,117.7
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    5

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                       Desc Main
                                                              Document    Page 8 of 26
 Fill in this information to identify the case:

 Debtor name         Bayport Corporation Ltd.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)           20-80471
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           $0.00
           Alabama Department of Revenue                             Check all that apply.
           Income Tax Division                                          Contingent
           P O Box 327460                                               Unliquidated
           Montgomery, AL 36132                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           $0.00
           Amanda Scott, CPA                                         Check all that apply.
           Revenue Commission, Morgan                                   Contingent
           County                                                       Unliquidated
           P.O. Box 696                                                 Disputed
           Decatur, AL 35602-0696
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                   41543                               Best Case Bankruptcy


          Case 20-80471-CRJ11                           Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                           Desc Main
                                                              Document    Page 9 of 26
 Debtor       Bayport Corporation Ltd.                                                                        Case number (if known)          20-80471
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown      $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $3,375.60    $3,375.60
           Lynda Hall Tax Collector                                  Check all that apply.
           Madison County Courthouse                                    Contingent
           100 Northside Sq                                             Unliquidated
           Huntsville, AL 35801                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019
           Last 4 digits of account number 0272                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           Bill Blue                                                                   Contingent
           John Blue Realty, LLC                                                       Unliquidated
           218 Randolph Avenue SE
                                                                                       Disputed
           Huntsville, AL 35801
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $10,000.00
           Mary Ann Lemmond                                                            Contingent
           100 Wilson Street, Apt. 1002                                                Unliquidated
           Decatur, AL 35601
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $5,000.00
           Sam Kossary                                                                 Contingent
           833 Tannahill Drive                                                         Unliquidated
           Huntsville, AL 35802
                                                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy


         Case 20-80471-CRJ11                            Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                                       Desc Main
                                                             Document     Page 10 of 26
 Debtor       Bayport Corporation Ltd.                                                            Case number (if known)        20-80471
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                       3,375.60
 5b. Total claims from Part 2                                                                       5b.   +   $                      15,000.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                            18,375.60




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                         Desc Main
                                                             Document     Page 11 of 26
 Fill in this information to identify the case:

 Debtor name         Bayport Corporation Ltd.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         20-80471
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                               Desc Main
                                                             Document     Page 12 of 26
 Fill in this information to identify the case:

 Debtor name         Bayport Corporation Ltd.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         20-80471
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy


          Case 20-80471-CRJ11                           Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                           Desc Main
                                                             Document     Page 13 of 26
 Fill in this information to identify the case:

 Debtor name         Bayport Corporation Ltd.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ALABAMA

 Case number (if known)         20-80471
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                          $0.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $280,000.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other    Land Sale

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                      Desc Main
                                                             Document     Page 14 of 26
 Debtor       Bayport Corporation Ltd.                                                                  Case number (if known) 20-80471



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Sam Kossary v. Bayport                            Breach of                  Madison County Circuit                       Pending
               Corporation Ltd.                                  Contract                   Court                                        On appeal
               CV-2017-901657                                                               100 North Side Square
                                                                                                                                         Concluded
                                                                                            Huntsville, AL 35801


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                          Desc Main
                                                             Document     Page 15 of 26
 Debtor        Bayport Corporation Ltd.                                                                     Case number (if known) 20-80471




       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Sparkman, Shepard & Morris,
                 PC
                 P.O. Box 19045
                 Huntsville, AL 35801                                Pre-petition case preparation                                                     $2,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     c/o The Claymore Group                                                                                    1985 - 2019
                 PO Box 64, Ste.C12, Market Place
                 Providenciales, Turks & Caicos Islands

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                       Desc Main
                                                             Document     Page 16 of 26
 Debtor      Bayport Corporation Ltd.                                                                   Case number (if known) 20-80471




 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                     Desc Main
                                                             Document     Page 17 of 26
 Debtor      Bayport Corporation Ltd.                                                                   Case number (if known) 20-80471




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                           Desc Main
                                                             Document     Page 18 of 26
 Debtor      Bayport Corporation Ltd.                                                                   Case number (if known) 20-80471



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       The Claymore Group                                                                                                    1985 - 2019
                    PO Box 64, Ste. C12, Market Place
                    Providenciales, Turks & Caicos Islands
                    British West Indies

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Rex Rankin                                     810 Island Way                                      Owner                                  100%
                                                      Decatur, AL 35601



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                     Desc Main
                                                             Document     Page 19 of 26
 Debtor      Bayport Corporation Ltd.                                                                   Case number (if known) 20-80471




            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 18, 2020

 /s/ Rex Rankin                                                         Rex Rankin
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy


         Case 20-80471-CRJ11                            Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                    Desc Main
                                                             Document     Page 20 of 26
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re       Bayport Corporation Ltd.                                                                         Case No.      20-80471
                                                                                 Debtor(s)                    Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,000.00
             Prior to the filing of this statement I have received                                        $                  3,000.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a
                 petition in bankruptcy;
                 b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                 c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
                 hearings thereof;
                 d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                 e. The above-listed disclosed amount is a retainer amount. All legal work, including work in excess of the
                 retainer amount, will be billed hourly and subject to court approval.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 18, 2020                                                           /s/ Tazewell T. Shepard
     Date                                                                        Tazewell T. Shepard ASB-4962-S68T
                                                                                 Signature of Attorney
                                                                                 Sparkman, Shepard & Morris, P.C.
                                                                                 303 Williams Avenue, Suite 1411
                                                                                 Huntsville, AL 35801
                                                                                 256-512-9924 Fax: 256-512-9837
                                                                                 taze@ssmattorneys.com
                                                                                 Name of law firm




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy


           Case 20-80471-CRJ11                          Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                              Desc Main
                                                             Document     Page 21 of 26
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      Bayport Corporation Ltd.                                                                                  Case No.         20-80471
                                                                                    Debtor(s)                         Chapter          11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Rex Rankin                                                                                                                      100
 801 Island Way
 Decatur, AL 35601


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Owner of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date February 18, 2020                                                      Signature /s/ Rex Rankin
                                                                                            Rex Rankin

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy




         Case 20-80471-CRJ11                            Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                                         Desc Main
                                                             Document     Page 22 of 26
                                                               United States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      Bayport Corporation Ltd.                                                                Case No.   20-80471
                                                                                   Debtor(s)        Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Owner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       February 18, 2020                                          /s/ Rex Rankin
                                                                        Rex Rankin/Owner
                                                                        Signer/Title




Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy


         Case 20-80471-CRJ11                            Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                Desc Main
                                                             Document     Page 23 of 26
    }
    b
    k
    1
    {
    C
    r
    e
    d
    i
    t
    o
    A
    s
    M
    a
    x




Bryant Bank of Huntsville
320 Pelham Avenue SW
Suite 100
Huntsville, AL 35801



First Community Bank of Cullman
420 2nd Avenue SW
Cullman, AL 35055




Alabama Department of Revenue
Income Tax Division
P O Box 327460
Montgomery, AL 36132



Amanda Scott, CPA
Revenue Commission, Morgan County
P.O. Box 696
Decatur, AL 35602-0696



Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346




Lynda Hall Tax Collector
Madison County Courthouse
100 Northside Sq
Huntsville, AL 35801



Bill Blue
John Blue Realty, LLC
218 Randolph Avenue SE
Huntsville, AL 35801



Mary Ann Lemmond
100 Wilson Street, Apt. 1002
Decatur, AL 35601




Sam Kossary
833 Tannahill Drive
Huntsville, AL 35802



        Case 20-80471-CRJ11       Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34   Desc Main
                                       Document     Page 24 of 26
                                                                Uited States Bankruptcy Court
                                                                     Northern District of Alabama
 In re      Bayport Corporation Ltd.                                                                   Case No.
                                                                                 Debtor(s)             Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
        I, Rex Rankin, declare under penalty of perjury that I am the Owner of Bayport Corporation Ltd., and that the
following is a true and correct copy of the resolutions adopted by the Board of Directors of said corporation at a
special meeting duly called and held on the 18th day of February, 2020.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Rex Rankin, Owner of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

        Be It Further Resolved, that Rex Rankin, Owner of this Corporation is authorized and directed to appear in
all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds and
to execute and deliver all necessary documents on behalf of the corporation in connection with such bankruptcy
case, and

        Be It Further Resolved, that Rex Rankin, Owner of this Corporation is authorized and directed to employ
Tazewell T. Shepard ASB-4962-S68T, attorney and the law firm of Sparkman, Shepard & Morris, P.C. to represent the
corporation in such bankruptcy case."

 Date February 18, 2020                                                        Signed /s/ Rex Rankin
                                                                                        Rex Rankin




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy


         Case 20-80471-CRJ11                            Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34                Desc Main
                                                             Document     Page 25 of 26
                                                                     Resolution of Board of Directors
                                                                                    of
                                                                          Bayport Corporation Ltd.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Rex Rankin, Owner of this Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

        Be It Further Resolved, that Rex Rankin, Owner of this Corporation is authorized and directed to appear
in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and deeds
and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

        Be It Further Resolved, that Rex Rankin, Owner of this Corporation is authorized and directed to employ
Tazewell T. Shepard ASB-4962-S68T, attorney and the law firm of Sparkman, Shepard & Morris, P.C. to represent the
corporation in such bankruptcy case.

 Date February 18, 2020                                                           Signed    /s/ Rex Rankin



 Date                                                                             Signed




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                              Best Case Bankruptcy


        Case 20-80471-CRJ11                             Doc 13 Filed 02/18/20 Entered 02/18/20 12:13:34      Desc Main
                                                             Document     Page 26 of 26
